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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNITED STATES OF AMERICA

v.
                                          CRIMINAL NO. 3:18-CR-406-K
DANIEL JENKINS (1)
MICHAEL ATKINSON (2)

                                     ORDER

      Having reviewed the United States’ Motion to Unseal Indictment filed in the

above-referenced cause, the Court finds the motion well taken, GRANTS the motion,

and hereby orders that the indictment be unsealed.

      SO ORDERED.

      Signed January 9th, 2019.




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                                             ED KINKEADE
                                             UNITED STATES DISTRICT JUDGE
